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 1                          UNITED STATES DISTRICT COURT
 2
                                       FOR THE
                             DISTRICT OF MASSACHUSETTS
 3

 4
     JAMES KEITH CORBIN,                      )
 5
                                              )
                    Plaintiff                 )
 6
                                              )
           v.                                 )   Civil Action No.:
 7
                                              )
     ENTERPRISE RECOVERY                      )   COMPLAINT AND DEMAND FOR
 8
                                              )   JURY TRIAL
     SYSTEMS,                                 )
 9
                                              )   (Unlawful Debt Collection Practices)
                    Defendant                 )
10

11

12                                      COMPLAINT

13         JAMES KEITH CORBIN (“Plaintiff”), by his attorneys, KIMMEL &

14   SILVERMAN, P.C., alleges the following against ENTERPRISE RECOVERY
15
     SYSTEMS (“Defendant”):
16
                                      INTRODUCTION
17
           1.       Plaintiff’s Complaint is based on the Fair Debt Collection Practices
18

19   Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).

20

21                              JURISDICTION AND VENUE
22         2.       Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d),
23
     which states that such actions may be brought and heard before “any appropriate
24
     United States district court without regard to the amount in controversy,” and 28
25



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 1   U.S.C. § 1331 grants this court original jurisdiction of all civil actions arising
 2
     under the laws of the United States.
 3
             3.       Defendant conducts business in the state of Massachusetts and
 4

 5   therefore, personal jurisdiction is established.
 6
             4.       Venue is proper pursuant to 28 U.S.C. § 1391(b)(1).
 7
             5.       Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and
 8

 9
     2202.

10                                           PARTIES
11           6.       Plaintiff is a natural person residing in Lowell, Massachusetts.
12
             7.       Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
13
     1692a(3).
14

15           8.       Defendant is a debt collection company doing business in

16   Massachusetts and having its principal place of business at 2400 S. Wolf Road,
17
     Suite 200, in Westchester, Illinois, 60154.
18
             9.       Defendant is a debt collector as that term is defined by 15 U.S.C. §
19

20   1692a(6), and sought to collect a consumer debt from Plaintiff.

21           10.      Defendant acted through its agents, employees, officers, members,
22
     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
23
     representatives, and insurers.
24

25



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 1                             PRELIMINARY STATEMENT
 2
           11.    The   Fair   Debt     Collection    Practices   Act   (“FDCPA”)   is   a
 3
     comprehensive statute that prohibits a catalog of activities in connection with the
 4

 5   collection of debts by third parties. See 15 U.S.C. § 1692 et seq. The FDCPA
 6
     imposes civil liability on any person or entity that violates its provisions, and
 7
     establishes general standards of debt collector conduct, defines abuse, and
 8

 9
     provides for specific consumer rights.          15 U.S.C. § 1692k.    The operative

10   provisions of the FDCPA declare certain rights to be provided to or claimed by
11
     debtors, forbid deceitful and misleading practices, prohibit harassing and abusive
12
     tactics, and proscribe unfair or unconscionable conduct, both generally and in a
13

14   specific list of disapproved practices.

15         12.    In particular, the FDCPA broadly enumerates several practices
16
     considered contrary to its stated purpose, and forbids debt collectors from taking
17
     such action. The substantive heart of the FDCPA lies in three broad prohibitions.
18

19   First, a “debt collector may not engage in any conduct the natural consequence of

20   which is to harass, oppress, or abuse any person in connection with the collection
21
     of a debt.” 15 U.S.C. § 1692d. Second, a “debt collector may not use any false,
22
     deceptive, or misleading representation or means in connection with the collection
23

24   of any debt.” 15 U.S.C. § 1692e. And third, a “debt collector may not use unfair
25
     or unconscionable means to collect or attempt to collect any debt.” 15 U.S.C. §

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 1   1692f.      The FDCPA is designed to protect consumers from unscrupulous
 2
     collectors, whether or not there exists a valid debt, broadly prohibits unfair or
 3
     unconscionable collection methods, conduct which harasses, oppresses or abuses
 4

 5   any debtor, and any false, deceptive or misleading statements in connection with
 6
     the collection of a debt.
 7
           13.     In enacting the FDCPA, the United States Congress found that
 8

 9
     “[t]here is abundant evidence of the use of abusive, deceptive, and unfair debt

10   collection practices by many debt collectors,” which “contribute to the number of
11
     personal bankruptcies, to marital instability, to the loss of jobs, and to invasions of
12
     individual privacy.” 15 U.S.C. § 1692a. Congress additionally found existing
13

14   laws and procedures for redressing debt collection injuries to be inadequate to

15   protect consumers. 15 U.S.C. § 1692b.
16
           14.     Congress enacted the FDCPA to regulate the collection of consumer
17
     debts by debt collectors. The express purposes of the FDCPA are to “eliminate
18

19   abusive debt collection practices by debt collectors, to insure that debt collectors

20   who refrain from using abusive debt collection practices are not competitively
21
     disadvantaged, and to promote consistent State action to protect consumers against
22
     debt collection abuses.” 15 U.S.C. § 1692e.
23

24

25



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 1                             FACTUAL ALLEGATIONS
 2         15.    At all pertinent times hereto, Defendant was allegedly hired to collect
 3
     a debt relating to an alleged consumer debt owed to the University of Florida.
 4
           16.    The alleged debt at issue arose out of transactions that were primarily
 5

 6   for personal, family or household, purposes.
 7
           17.    Early in 2009, Plaintiff’s spouse stopped making payments on an
 8
     alleged debt owed for account number G25363.
 9

10
           18.    From 2006 until his spouse stopped making payments, Plaintiff did no

11   object to Defendant contacting him.
12
           19.    In June 2009, Defendant and its agents, employees and servants
13
     contacted Plaintiff’s cellular telephone seeking and demanding payment of the
14

15   alleged debt owed by his spouse.

16         20.    Plaintiff informed Defendant that it was no longer authorized to call
17
     his cellular telephone. He also reminded Defendant that he was not the debtor.
18
           21.    Defendant continued to call Plaintiff on his cellular telephone during
19

20   the day, which greatly inconvenienced Plaintiff who was working nights and

21   sleeping days during this time period.
22
           22.    During one conversation with the Defendant, Plaintiff was told that
23
     his cellular telephone was on Defendant’s “auto dialer list” and there was nothing
24

25   that could be done about it.


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 1          23.    Defendant’s continued telephone calls to Plaintiff became so annoying
 2
      and harassing that Plaintiff expressed his exasperation and hung up the telephone.
 3
            24.    On October 22, 2009, Plaintiff received two (2) automated telephone
 4

 5   calls from Defendant asking him to hold the line for information concerning a debt.
 6
     No representative of Defendant’s ever picked up the line and the call was
 7
     terminated.
 8

 9
            25.    Plaintiff called Defendant back to inquire about why he was being

10   contacted and was hung up on by Defendant’s call representative.
11
            26.    Plaintiff then called Defendant back once more and was put in contact
12
     with “Ms. Angela Campbell”, who also ended the call very abruptly.
13

14          27.    On December 21, 2009, Attorney for Plaintiff’s spouse sent a “Letter

15   of Representation” to Defendant informing Defendant that no further contact
16
     should be made with Plaintiff’s spouse regarding the alleged debt. A true and
17
     correct copy of the December 21, 2009 letter is attached hereto as Exhibit “A”.
18

19          28.    Further more the December 21, 2009 letter went on to state that any

20   future contact regarding the alleged debt should be made to Plaintiff’s spouses’
21
     attorney. See Exhibit “A.”
22
            29.    On January 25, 2010, Defendant’s agent “Ashley Smith” contacted
23

24   Plaintiff once again on his cellular telephone looking for Plaintiff’s spouse.
25



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 1         30.    “Ashley Smith” first identified herself to Plaintiff as being from the
 2
     University of Florida and not from Enterprise Recovery System.
 3
           31.    Upon further pressing by Plaintiff, “Ashley Smith” revealed that she
 4

 5   was actually calling on behalf of Defendant.
 6
           32.    When Plaintiff told “Ashley Smith” that an attorney had sent
 7
     Defendant a “Letter of Representation” and that Defendant was not supposed to
 8

 9
     call Plaintiff or Plaintiff’s spouse regarding this account “Ashley Smith” responded

10   that she had no listing of an attorney on file.
11
           33.    At this point Plaintiff gave “Ashley Smith” his attorney’s name and
12
     hung up the telephone.
13

14

15                      CONSTRUCTION OF APPLICABLE LAW
16
          34..    The FDCPA is a strict liability statute. Taylor v. Perrin, Landry,
17
     deLaunay & Durand, 103 F.3d 1232 (5th Cir. 1997). “Because the Act imposes
18

19   strict liability, a consumer need not show intentional conduct by the debt collector

20   to be entitled to damages.” Russell v. Equifax A.R.S., 74 F. 3d 30 (2d Cir. 1996);
21
     see also Gearing v. Check Brokerage Corp., 233 F.3d 469 (7th Cir. 2000) (holding
22
     unintentional misrepresentation of debt collector’s legal status violated FDCPA);
23

24   Clomon v. Jackson, 988 F. 2d 1314 (2d Cir. 1993).
25



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 1        35.     The FDCPA is a remedial statute, and therefore must be construed
 2
     liberally in favor of the debtor. Sprinkle v. SB&C Ltd., 472 F. Supp. 2d 1235
 3
     (W.D. Wash. 2006). The remedial nature of the FDCPA requires that courts
 4

 5   interpret it liberally. Clark v. Capital Credit & Collection Services, Inc., 460 F. 3d
 6
     1162 (9th Cir. 2006). “Because the FDCPA, like the Truth in Lending Act (TILA)
 7
     15 U.S.C §1601 et seq., is a remedial statute, it should be construed liberally in
 8

 9
     favor of the consumer.” Johnson v. Riddle, 305 F. 3d 1107 (10th Cir. 2002).

10        36.     The FDCPA is to be interpreted in accordance with the “least
11
     sophisticated” consumer standard. See Jeter v. Credit Bureau, Inc., 760 F.2d 1168
12
     (11th Cir. 1985); Graziano v. Harrison, 950 F. 2d 107 (3rd Cir. 1991); Swanson v.
13

14   Southern Oregon Credit Service, Inc., 869 F.2d 1222 (9th Cir. 1988). The FDCPA

15   was not “made for the protection of experts, but for the public - that vast multitude
16
     which includes the ignorant, the unthinking, and the credulous, and the fact that a
17
     false statement may be obviously false to those who are trained and experienced
18

19   does not change its character, nor take away its power to deceive others less

20   experienced.”    Id.   The least sophisticated consumer standard serves a dual
21
     purpose in that it ensures protection of all consumers, even naive and trusting,
22
     against deceptive collection practices, and protects collectors against liability for
23

24   bizarre or idiosyncratic interpretations of collection notices. Clomon, 988 F. 2d at
25
     1318.

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 1                          COUNT I
 2
     DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES
                              ACT
 3
          37.   In its actions to collect a disputed debt, Defendant violated the
 4

 5   FDCPA in one or more of the following ways:

 6               a. Defendant violated of the FDCPA generally;
 7
                 b. Defendant violated § 1692d of the FDCPA by harassing Plaintiff
 8
                    in connection with the collection of an alleged debt;
 9

10               c. Defendant violated § 1692d(5) of the FDCPA, when it caused the

11                  Plaintiff’s telephone to ring repeatedly or continuously with the
12
                    intent to harass, annoy or abuse Plaintiff;
13
                 d. Defendant violated § 1692e of the FDCPA by using false,
14

15                  deceptive, or misleading representations or means in connection
16
                    with the collection of a debt;
17
                 e. Defendant violated § 1692e(10) of the FDCPA by using false
18

19
                    representations or deceptive means to collect or attempt to collect

20                  a debt;
21
                 f. Defendant violated § 1692f of the FDCPA by using unfair and
22
                    unconscionable means with Plaintiff to collect or attempt to collect
23

24                  a debt;

25               g. Defendant    acted   in    an    otherwise    deceptive,   unfair   and

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 1                     unconscionable manner and failed to comply with the FDCPA.
 2

 3
        WHEREFORE, Plaintiff, JAMES KEITH CORBIN, respectfully prays for a
 4

 5   judgment as follows:
 6
                  a.     All actual compensatory damages suffered pursuant to 15
 7                       U.S.C. § 1692k(a)(1);
 8                b.     Statutory damages of $1,000.00 for each violation of the
 9                       FDCPA pursuant to 15 U.S.C. § 1692k(a)(2)(A);
10                c.     All reasonable attorneys’ fees, witness fees, court costs and
11                       other litigation costs incurred by Plaintiff pursuant to 15 U.S.C.
12                       § 1693k(a)(3); and
13                d.     Any other relief deemed appropriate by this Honorable Court.
14

15                             DEMAND FOR JURY TRIAL
16         PLEASE TAKE NOTICE that Plaintiff, JAMES KEITH CORBIN,
17   demands a jury trial in this case.
18                                            RESPECTFULLY SUBMITTED,
19                                            KIMMEL & SILVERMAN, P.C
20

21   Date: October 21, 2010                   By: /s/ Craig Thor Kimmel
                                                   Craig Thor Kimmel
22                                                 Attorney ID # 662924
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